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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                        )   Chapter 11
                                                              )
CENTER CITY HEALTHCARE, LLC d/b/a                             )   Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et                             )
al.,1                                                         )   Jointly Administered
                                                              )
                                    Debtors.                  )   Hearing Date: July 20, 2022 at 11:30 a.m. (ET)
                                                                  Objection Deadline: July 8, 2022 at 4:00 p.m. (ET)
                                                              )

                                             NOTICE OF MOTION

          PLEASE TAKE NOTICE that on June 24, 2022, the above-captioned debtors and
  debtors-in-possession (collectively, the “Debtors”), by and through their undersigned counsel,
  filed the Motion of Debtors for Approval of Settlement of Preference Claims Against Beckman
  Coulter Inc. Pursuant to Federal Rule of Bankruptcy Procedure 9019 (the “Motion”) with the
  Court.

          PLEASE TAKE FURTHER NOTICE that responses, if any, to the relief requested in
  the Motion are to be filed with the United States Bankruptcy Court for the District of Delaware,
  824 N. Market Street, Wilmington, Delaware 19801 on or before July 8, 2022 at 4:00 p.m. (ET)
  and served upon the undersigned counsel for the Debtors. Only properly and timely filed responses
  will be considered.

         PLEASE TAKE FURTHER NOTICE that a hearing on the Motion is scheduled for July
  20, 2022 at 11:30 a.m. (ET) before the Honorable Mary F. Walrath, Judge of the United States
  Bankruptcy Court for the District of Delaware, 824 N. Market Street, 5th Floor, Courtroom #4,
  Wilmington, Delaware 19801.

       IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
  MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE
  OR HEARING.




  1 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St. Christopher’s
    Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA, L.L.C. (1617),
    SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center, L.L.C. (6447), SCHC
    Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics, L.L.C. (4056), TPS of PA,
    L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS IV of PA, L.L.C. (5537), and TPS
    V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad Street, 4th Floor, Philadelphia,
    Pennsylvania 19102.



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Dated: June 24, 2022                           KLEHR HARRISON HARVEY
                                               BRANZBURG LLP


                                               By: /s/ Sally E. Veghte________________
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                                               Special Counsel for Debtors and
                                               Debtors in Possession




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